                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                   (Harrisonburg Division)

  JACQUELINE MINIFIELD-BROWN in her                         *
  capacity as the personal representative and the           *
  administrator of the Estate of D’Londre T. Minifield      *
  and in her personal capacity.                             *
                                               Plaintiff,   *
                                                            *
  v.                                                        * Civil Action No.: 5:17cv00043
                                                            *
  THE CITY OF WINCHESTER, INC. et al.,                      *
                                                            *
                                                            *
                                             Defendants.    *


                         MOTION FOR SUBSTITUTION OF ATTORNEY

            COMES NOW, Plaintiff Jacqueline Y. Minifield (hereinafter “Plaintiff” or “the

 Estate”), by and through undersigned counsel, David C. Johnson, Esq. Local Counsel and

 Deborah R. Whitlock, Esq. respectfully moves this Court to grant the Motion for Substitution

 of Attorney and states the following in support thereof:

       1.         Deborah R. Whitlock, Esquire, was recently retained by the Estate and granted

   admission pro hac vice in this case on April 20, 2018.

       2.         Plaintiff desires to have the appearance of current attorney, Roger I. Roots,

   Esquire, admitted pro hac vice withdrawn in this case.

       3.         Accordingly, it is the Estate’s request that the appearance of Roger I. Roots,

   Esquire, admitted pro hac vice, be withdrawn and substituted by undersigned counsel, David

   C. Johnson, Esquire, Local Counsel, and Deborah R. Whitlock, admitted pro hac vice, as her

   attorneys in this case.

       4.        Plaintiff attaches her signed proposed Consent Order Granting Substitution of



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 Attorney in further support of this motion.

        WHEREFORE, for the above-stated reasons, Plaintiff respectfully requests that the Court

 grant the Motion for Substitution of Attorney.

                                                      JACQUELINE MINIFIELD-BROWN,
                                                      ADMINISTRATOR AND PERSONAL
                                                      REPRESENTATIVE OF THE ESTATE OF
                                                      D'LONDRE MINIFIELD AND IN HER
                                                      PERSONAL CAPACITY.

                                                      By Counsel,

                                                      /s/Deborah R. Whitlock_____
                                                      Deborah R. Whitlock, Esq. GSB# 312803
                                                      ATTORNEY AT LAW
                                                      237 W. Savannah Street #102
                                                      Telephone: (706)886-0518
                                                      Facsimile: (706)886-0519
                                                      drwhitlock32256@gmail.com
                                                      Attorney admitted pro hac vice for
                                                      Jacqueline Minifield and the Estate

                                                      /s/Roger I. Roots_________
                                                      Roger I. Roots, Esq. RIB# 6752
                                                      113 Lake Dr. E.
                                                      Livingston, MT 59047
                                                      (406)224-3105
                                                      Fax: (401)404-0190
                                                      Email: rogerroots@msn.com
                                                      Pro Hac Vice Counsel for Plaintiff

                                                      /s/David C. Johnson____
                                                      David C. Johnson, Esq. VSB No. 70139
                                                      Virginia Beach Law Group
                                                      780 Lynnhaven Parkway Suite 220
                                                      Virginia Beach, VA 23452
                                                      Telephone: 757-486-4529
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                                                      djohnson@vabeachlawgroup.com
                                                      Local Counsel for Jacqueline Minifield
                                                      and the Estate




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 23, 2018, I electronically filed the foregoing pleading with
 the Clerk of the Court using the CM/ECF system, which will then send a notification of such
 filing to (NEF) to the following:


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            jjudkins@bmhjlaw.com                             Counsel for Kristin Bradford
            Counsel for City of Winchester;
            and for Kevin L. Sanzenbacher                    Philip Corliss Krone
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           Counsel for VSP Defendants


                                                       /s/ David C. Johnson___________
                                                       David C. Johnson




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